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                                                         HONORABLE RICHARD A. JONES
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8                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
9                                     AT SEATTLE
10   INGENCO HOLDINGS, LLC and BIO
     ENERGY (WASHINGTON), LLC,
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                   Plaintiffs,                         Case No. 2:13-cv-00543-RAJ
12
            v.                                         ORDER
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14   ACE AMERICAN INSURANCE
     COMPANY,
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                   Defendant.
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            This matter comes before the Court on the Parties’ Joint Motion for Leave to File
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     Motions for Partial Summary Judgment. Dkt. # 205. The Parties assert that, following
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     the Ninth Circuit’s opinion in Ingenco Holdings LLC v. ACE American Ins. Co., 921 F.3d
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     803 (9th Cir. 2019), several issues remain. Id. To resolve those issues, the Parties
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     suggest filing additional motions for partial summary judgment. Id. They also request a
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     telephonic hearing to discuss the briefing schedule for such motions and the Court’s
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     “preferred format for addressing th[e remaining] legal issues.” Id. The Court agrees that
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     this matter would benefit from additional partial summary judgment motions. But it sees
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     no reason to grant the Parties’ request for a telephonic hearing; a joint statement would be
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28   ORDER – 1
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     just as effective. The Court instructs the Parties to submit a joint statement, no longer
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     than five pages, by November 16, 2020. That statement should include (1) the issues
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     that the Parties will address in their motions and (2) a stipulated briefing schedule. Of
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     course, if an agreement cannot be reached, the parties should set forth their respective
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     proposals or positions.
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              For the reasons stated above, the Court GRANTS in part and DENIES in part
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     the Parties’ Joint Motion for Leave to File Motions for Partial Summary Judgment. Dkt.
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     # 205.
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              DATED this 9th day of November, 2020.
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12
                                                       A
                                                       The Honorable Richard A. Jones
13                                                     United States District Judge
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28   ORDER – 2
